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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                                       Criminal Minutes


 Date: November 1, 2021                                             Judge: Hon. James Donato

 Court Reporter: Belle Ball
 Time: 4 Minutes
 Case No.       3:21-cr-00155-JD
 Case Name      USA v. Carlos E. Kepke via Zoom

 Attorney(s) for Government:     Christopher Magnani
 Attorney(s) for Defendant(s):   Grant Fondo

 Deputy Clerk: Lisa Clark

                                        PROCEEDINGS
Status Conference -- Held

                                    NOTES AND ORDERS

A trial setting conference is set for January 24, 2022, at 10:30 a.m. Time is excluded between
November 1, 2021, and January 24, 2022, under the Speedy Trial Act, 18 U.S.C.
§ 3161(h)(7)(B)(iv).




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